     Case 2:20-cr-00228-FMO Document 197 Filed 05/18/22 Page 1 of 3 Page ID #:1208



 1   TRACY L. WILKISON
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     DAMARIS DIAZ (Cal. Bar No. 277524)
 4   SCOTT M. LARA (Cal. Bar No. 296944)
     Assistant United States Attorney
 5   Violent & Organized Crime Section
          1300 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-0302/0427
          Facsimile: (213) 894-3713
 8        E-mail:      damaris.diaz@usdoj.gov
                       scott.lara@usdoj.gov
 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                Case No. 2:20-CR-0228(A)-ODW

14               Plaintiff,                   STIPULATION REGARDING ACCURACY OF
                                              MANDARIN TRANSLATIONS
15                    v.
                                              Trial Date: May 17, 2022
16   MEI XING,                                Location: Courtroom of the
                                              Hon. Otis D. Wright
17               Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Damaris Diaz and
22   Scott M. Lara, and defendant MEI XING, by and through her counsel of
23   record, Federal Public Defenders Neha Christerna and Callie Glanton
24   Steele, hereby stipulate as follows:
25         1.    Government Exhibit No. 8 contains accurate and correct
26   translations of the Mandarin writing on Government Exhibit No. 7.
27         2.    Government Exhibit No. 12 contains accurate and correct
28   translations of the Mandarin writing on Government Exhibit No. 11.
     Case 2:20-cr-00228-FMO Document 197 Filed 05/18/22 Page 2 of 3 Page ID #:1209



 1         3.    Government Exhibit No. 18 contains accurate and correct

 2   translations of the Mandarin writing on Government Exhibit No. 17.

 3         4.    Government Exhibit No. 24 contains accurate and correct

 4   translations of the Mandarin writing on Government Exhibit No. 23.

 5         5.    Government Exhibit No. 26 contains accurate and correct

 6   translations of the Mandarin writing on Government Exhibit No. 25.

 7         6.    Government Exhibit No. 30 contains accurate and correct

 8   translations of the Mandarin writing on Government Exhibit No. 29.

 9         7.    Government Exhibit No. 32 contains accurate and correct

10   translations of the Mandarin writing on Government Exhibit No. 31.

11         8.    Government Exhibit No. 34 contains accurate and correct

12   translations of the Mandarin writing on Government Exhibit No. 33.

13         9.    Government Exhibit 62 contains an accurate and correct

14   translation of the spoken Mandarin in the recording in Exhibit 47.

15         10.   Government Exhibit No. 81 contains accurate and correct

16   translations of the Mandarin text on Government Exhibit No. 80.

17         11.   Government Exhibit No. 83 contains accurate and correct

18   translations of the Mandarin writing on Government Exhibit No. 82.

19         12.   Government Exhibit No. 95 contains accurate and correct

20   translations of the Mandarin writing on Government Exhibit No. 94.

21

22   ///

23   ///

24   ///

25

26

27

28

                                           2
     Case 2:20-cr-00228-FMO Document 197 Filed 05/18/22 Page 3 of 3 Page ID #:1210



 1         IT IS SO STIPULATED.

 2    Dated: May 17, 2022                  Respectfully submitted,

 3                                         TRACY L. WILKISON
                                           United States Attorney
 4
                                           SCOTT M. GARRINGER
 5                                         Assistant United States Attorney
                                           Chief, Criminal Division
 6

 7                                            /s/
                                           DAMARIS DIAZ
 8                                         SCOTT LARA
                                           Assistant United States Attorneys
 9
                                           Attorneys for Plaintiff
10                                         UNITED STATES OF AMERICA
11

12    Dated: May 17, 2022                  __/s/ by email authorization_______
                                           NEHA CHRISTERNA
13                                         CALLIE STEELE
14                                         Attorney for Defendant
                                           MEI XING
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           3
